                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.,                        )
                                      )
                  Plaintiff,          )
                                      ) Case No. 21-cv-06082
   v.                                 )
                                      ) Honorable Judge Charles P. Kocoras
SUNG SHIN,                            )
                                      )
                 Defendant.           )

PLAINTIFF GROUPON, INC.’S RESPONSE IN OPPOSITION TO DEFENDANT SUNG
    SHIN’S MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
 PURSUANT TO FED. R. CIV. P. 12(b)(2), OR IN THE ALTERNATIVE, MOTION TO
 TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404; AND REQUEST FOR ORDER
             VACATING TEMPORARY RESTRAINING ORDER
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       Plaintiff, Groupon, Inc. respectfully submits the following Response in Opposition to

Defendant Sung Shin’s Motion to Dismiss for Lack of Personal Jurisdiction Pursuant to Fed. R.

Civ. P. 12(b)(2), or in the Alternative, Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404;

and Request for Order Vacating Temporary Restraining Order (the “Motion”):

                                        INTRODUCTION

       Shin misstates fact and law in an attempt to evade this Court’s invocation of jurisdiction

and its November 16, 2021 Order (“Order”) granting Groupon’s Emergency Motion for

Temporary Restraining Order (“TRO Motion”). Shin’s misstatements go so far as to deliberately

misquote a key statute; he changes “and” to “or” in RCW 49.62.050. This action is properly before

the Court, which rightly granted Groupon’s record-based application for a TRO. The Court should

continue to exercise jurisdiction, deny the request to transfer, and extend the TRO.

       In granting the TRO, the Court reviewed Groupon’s moving papers, including the legion

of facts connecting Shin and this action to Illinois, and entered the TRO. Shin does not, and cannot,

dispute any of those facts. Shin instead wrongly claims Groupon invokes the Court’s jurisdiction

solely on the basis of a venue-selection clause in the Confidentiality, Intellectual Property and

Restrictive Covenants Agreement (the “Agreement”). He selectively omits and ignores his

substantive Illinois contacts and the significant benefits he reaped from his Illinois-based

employment, all of which are in the record.

       Shin, in the alternative, seeks to transfer this action to the Western District of Washington.

There is no legal basis to do so. The private and public interest factors disfavor transfer. Shin’s

Washington residency is that state’s only connection to the litigation. Shin’s substantive Illinois

contacts give Illinois a materially greater interest in adjudicating the action. Nothing under Illinois

law or in the Agreement, the terms of which Shin knowingly and voluntarily accepted, deprives

Shin of any rights in Washington. Shin’s deliberate misquote of the Washington non-compete
                                                  -1-
statute underscores the impropriety of this argument. Nowhere does the statute require application

of Washington law or selection of a Washington venue for adjudication.

        Moreover, Shin’s request to vacate the Court’s Order granting Groupon’s Motion is

procedurally improper and simply inadequate under Illinois law1. Groupon’s record evidence

supporting the Court’s TRO remains unrebutted.

                                       FACTUAL SUPPLEMENT

        Shin’s Declaration selectively omits and outright misstates the circumstances of his

employment in an attempt to minimize his Illinois contacts. Shin disingenuously describes his

Groupon duties (i.e., those duties arising from his Illinois-based employment) as “not based out of

Illinois or connected directly to Illinois” or just “logistical” check-ins. (Decl., ¶ 6). This is

inaccurate. As Groupon’s head of advertising, Shin’s duties and responsibilities were inextricably

tied to Groupon’s collective business operations in Illinois, and his efforts directly connected to

Groupon’s headquarters in Illinois.           Further, Shin headed one of Groupon’s core strategic

initiatives, with its roots, implementation, and effects centrally based in Illinois. See Declaration

of Simon Goodall, attached hereto as Exhibit A, ¶ 16. Shin also directed several Illinois-based

subordinates to implement his advertising initiatives, and Shin’s direct supervisor, Groupon’s

Illinois-based Chief Revenue Officer Simon Goodall, conducted all of his management duties out

of Illinois which included regular strategic meetings, and analysis and review of Shin’s work. Id.

at ¶¶ 14, 16, 18.

        Next, Shin misrepresents the nature and scope of his Groupon communications. Shin

incorrectly claims “[t]he majority of my communications were directed to supervisors and



1
  Because Shin filed a Response in Opposition to Groupon’s Emergency Motion for Temporary Restraining Order in
the early hours of November 22, 2021 and Groupon intends to submit a short reply in support of its Motion, Groupon
does not address Shin’s arguments to “vacate” in detail in this submission.

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subordinates in Washington and California, to develop the business outside of Illinois.” (Decl., ¶

6). Shin communicated regularly with Goodall, as well as Shin’s five direct reports, the majority

of whom reside in Illinois. See Exhibit A, ¶ 14. Shin conveniently refers to direct reports outside

of Illinois but fails to cite to the three direct reports in Illinois he supervised. See id. Additionally,

Shin’s meetings with Goodall were not mere “logistical ‘check in’ meetings.” The meetings often

concerned Groupon’s advertising performance metrics, from which Shin developed and

implemented advertising strategies. See id., ¶ 16. Goodall interacted multiple times per week with

Shin concerning topics including advertising strategy, advertising business performance,

Groupon’s Coupons business performance, and total Company performance. See id. This is not

surprising, as Goodall was Shin’s direct supervisor and is a member of Groupon’s S-TEAM. Shin

also participated in global weekly and monthly business reviews which were led by Illinois-based

employees. See id., ¶ 17.

        Shin further omits that he accepted trade secrets and confidential information generated

and originated in Illinois. Groupon’s leadership, including Goodall and the Company’s interim

Chief Executive Officer, its Chief People Officer, its interim Chief Financial Officer, its Chief

Commercial Officer, and its Chief Administrative Officer, are all based in Illinois. Moreover,

Shin’s compensation was paid from Illinois, and his RSUs represented equity in an Illinois

company. See Ex. A, ¶¶ 10, 12.

        Shin could not have reasonably anticipated litigating in a forum other than Illinois. He

knowingly and voluntarily entered into the Agreement, which contains clear Illinois choice of law

and venue provisions.

        Shin also mischaracterizes his role at Groupon to minimize its inherently competitive

dynamic with his position at Yelp. Shin regularly analyzed merchant-by-merchant analyses of



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advertising spend, return on advertising spend and advertising profitability to develop and

implement Groupon’s advertising strategies, belying Shin’s contention that his Groupon role did

not require he access confidential information. (Decl., ¶ 13). Shin also ignores the troves of

merchant-specific metrics he regularly studied to target merchants with customized advertising

strategies. These are the same merchants Yelp targets for advertising spend. (Cmplt., ¶¶ 71, 72).

                                                 ARGUMENT

I.      SHIN’S OBJECTIONS TO JURISDICTION LACK FACTUAL AND LEGAL
        BASES.

        A.       Shin’s Substantial Illinois Contacts Establish Personal Jurisdiction.

                 1.       Shin’s Illinois ties are more than sufficient to confer specific jurisdiction2.

        As detailed in Groupon’s TRO Motion and supporting papers, Shin has more than

sufficient minimum contacts to confer specific jurisdiction. Under Illinois’s long-arm statute, a

nonresident submits to the jurisdiction of the Illinois courts by (i) transacting business within the

state and (ii) making a promise substantially connected with Illinois. See Reeve v. Ocean Ships,

Inc., Case No. 10 C 8147, 2011 WL 3165765 (N.D. Ill. July 27, 2011). Both factors are satisfied.

        Shin had substantive Illinois connections by virtue of his Groupon employment.

Specifically:

        •    Shin knowingly sought and accepted employment with an Illinois-based company;

        •    During the interview process, Shin interviewed with Groupon employees (save one)
             who were based in Illinois;

        •    Shin received an ample compensation package, including a $100,000 sign-on bonus 3,
             a $275,000 base salary, eligibility for an annual bonus with a target of 40% of this base

2
  Shin’s references to general jurisdiction are off-point. Groupon does not need to demonstrate that Shin’s Illinois
contacts confer this Court with both general and specific jurisdiction. See Russell v. SNFA, 2013 IL 113909, P1
(explaining that determining whether “the minimum contacts test has been satisfied depends on what category of
personal jurisdiction is being sought—either general or specific”) (emphases added).
3
  Shin’s Offer Letter explained that if Shin’s employment with Groupon were to terminate within two years, he would
be required to repay the signing bonus. Shin initially refused to repay the signing bonus. Shin only repaid it after
Groupon sued him and the Court granted Groupon’s Motion.

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           salary, all of which were paid from Illinois;

       •   Shin received Restricted Share Units valued at $700,000 in an Illinois company;

       •   Shin accessed Groupon’s trade secrets and confidential information (solely by virtue
           of employment with his Illinois employer) that generated and originated from Illinois;

       •   Shin reported directly to Groupon’s Chief Revenue Officer, who is based in Illinois;

       •   Groupon’s senior leadership, including its interim Chief Executive Officer, Chief
           People Officer, interim Chief Financial Officer, Chief Commercial Officer, and Chief
           Administrative Officer are all based in Illinois;

       •   Shin participated in Groupon’s strategic weekly and monthly business reviews led by
           Illinois-based employees;

       •   Shin’s duties as Global Head of Advertising were directly connected to Illinois, where
           all his services and efforts materialized through Groupon’s headquarters in Illinois;

       •   Shin regularly communicated with Groupon’s Illinois-based employees, including a
           majority of his direct reports;

       •   Shin met multiple times per week with his Illinois-based supervisor concerning topics
           such as advertising strategy, advertising business performance, coupons business
           performance and total company performance;

       •   Shin led a presentation to the entire senior leadership (“S-TEAM”), including among
           others, Groupon’s Interim CEO, CFO, and CCO, all based in Illinois, on Groupon’s
           business advertising strategy;

       •   Shin attended the Company’s Global and Monthly Business Review Meetings, led by
           Illinois-based employees; and

       •   Shin knowingly and voluntarily entered into the Agreement which clearly and
           expressly designated an Illinois forum and application of Illinois law. Ex. A, ¶¶ 6-8,
           10-12, 13, 14, 16-18.

       Based on these significant contacts, the Court rightly determined it has personal jurisdiction

over Shin. See Illinois v. Hemi Group LLC, 622 F.3d 754, 760 (7th Cir. 2010) (finding personal

jurisdiction over the non-resident defendant and explaining that the defendant “wants to have its

cake and eat it, too: it wants the benefit of [conducting business in Illinois] with none of the

exposure”). Shin attempts to downplay his significant Illinois contacts, wrongly contending he


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communicated primarily with Washington- and California-based Groupon employees, only had

“logistical” check-ins with Illinois supervisors, and assumed responsibilities not based in or

directly connected to Illinois.4 (Mtn., p. 9). Even if Shin’s characterizations were true, they are

countered by the litany of other Illinois connections he ignores. If all of these other facts are

disregarded, at most, Shin’s contention regarding employee communication creates a question of

fact precluding dismissal. See In re Rust-Oleum Restore Mktg., Sales Pracs. & Prod. Liab. Litig.,

155 F. Supp. 3d 772, 789 (N.D. Ill. 2016) (finding questions of fact are inappropriate for resolution

on a motion to dismiss).

        Shin also made a promise substantially connected with Illinois when he knowingly and

voluntarily entered into the Agreement designating an Illinois forum and choice of law. His

contention that he anticipated litigating in Washington is disingenuous. (Decl., ¶ 7). He did not

dispute application of Illinois law or venue. He did not tell Groupon he wanted the Agreement

governed by Washington law.            Ex. A, ¶ 9.         Shin is a sophisticated and highly educated

businessman. Id. He negotiated his salary and could have negotiated other terms. Id. He did not.

Id. Shin had a general duty to read documents before he signed them, and his failure to do so does

not render the Agreement unenforceable. Oelze v. Score Sports Venture, LLC, 401 Ill. App. 3d

110 (1st Dist. 2010); see IFC Credit Corp. v. Rieker Shoe Corp., 378 Ill. App. 3d 77, 93 (1st Dist.

2007) (holding there is a presumption the party read and understood and agreed to be bound by

the terms). By executing the Agreement, Shin acknowledged:

        I have substantial material connections to Illinois by way of my employment with
        Groupon. As such, I agree that this Agreement shall be governed in all respects by
        the laws of the United States of America and by the laws of the State of Illinois.

4
  In the event Shin attempts to rely on the CVS Rhode Island action, the facts here are far different, No. 21-
070 WES, 2021 U.S. Dist. LEXIS 39688 (Mar. 3, 2021). There, the employee joined and accepted stock
in a Connecticut company subsequently acquired by a Rhode Island company. Here, Shin knowingly joined
an Illinois company. He knowingly and voluntarily chose to accept a significant salary, a signing bonus,
and stock from and in an Illinois company.
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       Each of the parties irrevocably consents to the exclusive personal and subject matter
       jurisdiction of the federal and state courts located in Illinois . . . for any matter
       arising out of or relating to this Agreement. . . Cmplt., Ex. A, ¶ 23 (emphasis added).

       Shin further promised to abide by the Agreement’s terms, and he received valuable and

sufficient consideration in exchange for such agreement, including over a million dollar

compensation package and access to Groupon’s Illinois-based trade secrets. See WAV, Inc. v.

Walpole Island First Nation, 47 F. Supp. 3d 720, 728 (N.D. Ill. 2014) (finding personal jurisdiction

where the defendant’s “refusal to perform the obligations of a contract it negotiated and entered

with [plaintiff], an Illinois company, gives rise to the claim”). Groupon is not taking action against

a low-level, unsophisticated employee with no connection to Illinois. Groupon seeks only to

prevent a highly compensated Vice President from going to its direct competitor, Yelp, to drive

the very same business strategy he drove at Groupon and through which he had overwhelming and

regular connections in Illinois.

               2.      Illinois law supports the Court’s personal jurisdiction over Shin.

       Shin’s efforts to distinguish Liqui-Box Corp. v. Scholle IPN Corp., No. 1:19-cv-4069, 2021

WL 5006692 (N.D. Ill. Oct. 28, 2021), and Tekway, Inc. v. Agarwal, No. 19-CV-6867, 2020 WL

5946973, at *1 (N.D. Ill. Oct. 7, 2020) are unavailing. Shin wrongly argues Liqui-Box is

distinguishable because of two stray facts: (1) Shin did not travel to Illinois, and (2) he worked

for Groupon for just under seven months. Despite Shin’s efforts to parse and distort the Liqui-Box

decision, the Court considered the defendant’s Illinois contacts collectively, not individually. The

Court in Liqui-Box found substantial connections with Illinois based on a number of factors present

here. There, as here, the defendant regularly communicated with the employer’s Illinois

employees, reported to an Illinois-based supervisor, was paid from the employer’s Illinois bank

accounts, and accessed confidential information and emails stored in the employer’s Illinois

servers. See generally Liqui-Box, 2021 WL 5006692. Illinois law does not require a defendant to

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physically enter Illinois to confer jurisdiction over him. See Felland v. Clifton, 682 F.3d 665, 673

(7th Cir. 2012) (stating personal jurisdiction “cannot be avoided simply because a defendant did

not physically enter the forum state”) 5.

        Shin mischaracterizes Tekway as “distinguishable” on the strained grounds that “[t]he

choice of law and choice of forum provisions at issue in that case had not been codified by the

legislature as illegal, as they have in the state of Washington.” (Mtn., p. 11). The Agreement’s

selection of an Illinois forum and choice of law is not “illegal” under Washington law. Nothing

in the Washington statute requires application of Washington law, and nothing in the Washington

statute requires selection of a Washington venue. Tekway is on all fours with this case and supports

this Court’s invocation of personal jurisdiction over Shin. See Tekway, 2020 WL 5946973, at *1

(finding personal jurisdiction over the Colorado-based defendant where he entered into an

employment relationship with an Illinois company and the claims arose out of the relationship).

        This Court’s decision in A&R Logistics Holdings, Inc. v. Curl provides further support for

the Court’s invocation of personal jurisdiction over Shin. In A&R Logistics, the employer alleged

the out-of-state employee breached a non-compete agreement, and the employee moved to dismiss

for lack of personal jurisdiction. No. 19-cv-6867, 2015 WL 5561179 (N.D. Ill. 2015). The court

denied the motion, finding the employee’s Illinois ties sufficient to establish personal jurisdiction.

Specifically, the court explained the employee was “well aware that he undertook []

responsibilities at the behest of a corporation headquartered in Illinois.” 2020 WL 5946973, at *3.

Although the employee executed his job responsibilities outside of Illinois (like Shin), the court

reasoned he “knew that his continued employment and agreement to the non-compete and

nondisclosure clauses in the stock options agreement would have substantial effect in Illinois


5
 But for the COVID-19 pandemic, Shin would have regularly traveled to Groupon’s Illinois headquarters for these
monthly management meetings. Ex. A, ¶19.

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because [his employer’s] operations headquarters [were] located there.” Id. The court concluded

“traditional notions of fair play and substantial justice” are not offended by requiring an employee

who, like Shin, “had frequent and substantial contact with his out-of-state employer to be subject

to the jurisdiction of courts in his employer’s home state.” Id. (internal quotations omitted). Shin’s

employment with Illinois-based Groupon similarly was “to a large degree [] associated with

Illinois.” Id. The court’s analysis in Curl equally applies here, and the Court has personal

jurisdiction over Shin.

II.     SHIN’S ARGUMENTS TO AVOID THE AGREEMENT’S LEGITIMATE FORUM
        SELECTION CLAUSE ARE WITHOUT MERIT.

        A.      Shin’s reliance on CVS Pharmacy v. Brown to avoid Illinois law and Illinois
                forum is misplaced.

        As Groupon predicted, Shin attempts to rely on a single, stray comment in a decision from

the Western District of Washington, CVS Pharmacy v. Brown, to argue the Agreement is invalid

under Washington law. The CVS court’s unexplained reading of the Washington non-compete

statute is belied by the statute’s plain language. In CVS, the court found CVS’s entire non-

competition clause unenforceable because it contained a Rhode Island venue and choice of law

provision. No. C21-306 MJP, 2021 WL 807666 (W.D. Wash., Mar. 16, 2021). The CVS court

did so in a single sentence embedded in a choice of law analysis and did not engage in any analysis

of the statute or application of the facts to the statute.

        The CVS court’s finding is inconsistent with the Washington statute’s plain language. As

explained in more detail below, the Washington statute expressly provides “[a] provision in a

noncompetition covenant . . . is void and unenforceable: (1) If the covenant requires the employee

or independent contractor to adjudicate a noncompetition covenant outside of this state; and (2)

To the extent it deprives the employee or independent contractor of the protections or benefits of



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this chapter.” 6 Shin’s reliance on CVS to evade Illinois law and this Court’s jurisdiction is

unavailing.

        B.      Shin misstates and misrepresents the plain language of Washington’s statute in
                an attempt to avoid a legitimate forum selection provision.

        Shin wrongly claims the Agreement’s selection of an Illinois forum and choice of law is

unenforceable because it violates a fundamental Washington public policy. (Mtn., p. 4). Nothing

in the Agreement violates Washington public policy, and Illinois non-compete law is entirely

consistent with Washington’s non-compete law. Shin has not been deprived of any rights under

Washington law, and there is no public policy requiring disposition in Washington. In support of

his faulty proposition, Shin’s Motion conflates two provisions of Washington’s non-compete act:

RCW 49.62.050 (governing enforceability of “a provision in a non-competition covenant”) and

RCW 49.62.020 (governing enforceability of “a non-competition covenant”).

        Shin’s reading of the statute’s forum provision (RCW 49.62.050) contravenes the statute’s

plain language. Rather than quote the full statutory language, Shin advances his own, errant

rendition of the statutory provision by selectively quoting the statute and omitting dispositive

statutory terms within that statute that doom his arguments. He does not quote the most critical

words. First, Shin mis-paraphrases this portion of the statute as “prohibit[ing] an employer from

requiring employees to agree to out-of-state choice of law and choice of forum clauses.” (Mtn., p.

4). Second, he substitutes an “or” for what clearly appears in the statute as an “and” in an attempt

to rewrite the statute in a way favorable to his arguments. But the plain language of the statute

refutes his arguments.



6
 Moreover, the Washington court’s decision is not binding on this Court. See United States v. Glaser, 14
F.3d 1213, 1216 (7th Cir. 1994) (“Opinions ‘bind’ only within a vertical hierarchy.”); United States v.
Diggs, 385 F. Supp. 3d 648, 659 (N.D. Ill. 2019), reconsideration denied, No. 18 CR 185, 2020 WL 208826
(N.D. Ill. Jan. 14, 2020) (clarifying decisions in one circuit are not binding on district courts in another).
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       Groupon is entirely within its rights under the Washington law to bring suit here in Illinois,

and the Court does not run afoul of Washington law by enforcing Groupon’s rights and denying

Shin’s Motion. Even a cursory review of the Washington statute confirms Groupon’s position is

correct. The statute provides:

       A provision in a noncompetition covenant signed by an employee or independent
       contractor who is Washington-based is void and unenforceable:

       (1) If the covenant requires the employee or independent contractor to adjudicate a
       noncompetition covenant outside of this state; and

       (2) To the extent it deprives the employee or independent contractor of the
       protections or benefits of this chapter. (RCW 49.62.050) (emphases added).

       As the plain language makes clear, a forum selection clause is only void and unenforceable

if it requires adjudication outside of Washington and it deprives the employee of the protections

or benefits of the chapter. Nowhere does the statute require application of Washington law and

nowhere does the statute require selection of Washington venue for adjudication.

       Adopting Shin’s distorted reading of the statute would render prong (2) of RCW 49.62.050

superfluous. The statute expressly provides that “[a] provision in a non-competition covenant” is

void and unenforceable where both RCW 49.62.050(1) “and” RCW 49.62.050(2) are met. See

Thurner Heat Treating Corp. v. National Labor Relations Board, 704 F.2d 347 (7th Cir. 1983) (“It

is a basic rule of statutory construction that, if possible, effect is given to each and every word,

clause, and sentence in a statute and a construction that results in any portion of a statute being

held superfluous should be avoided.”); Soh v. Target Mkt Sys., 353 Ill. App. 3d 126 (1st Dist. 2004)

(“As a general rule, the use of the conjunctive as in the word ‘and,’ indicates that the legislature

intended for all of the listed requirements to be met.”); Ski Acres v. Kittitas County, 118 Wn. 2d

852 (Wash. 1992) (“Where a statute contains an ‘and’ and not an ‘or,’ we thus read ‘and’ to mean

the conjunctive, rather than the disjunctive which ‘or’ would have implied.”).


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        The Agreement does not deprive Shin of any benefits or protections under the Washington

statute. The terms of the Agreement fully comply with Washington’s statutory requirements. 7 The

Washington statute provides a non-competition covenant is void and unenforceable against an

employee unless (1) the terms of the covenant are disclosed in writing to the prospective employee

no later than the time of the acceptance of the offer of employment; (2) the employee’s earnings

from the party seeking enforcement, when annualized, exceed one hundred thousand dollars per

year (this dollar amount is adjusted annually in accordance with the statute); and (3) it does not

exceed eighteen months in duration after termination of employment. If these conditions are not

satisfied, the employee is deprived of the rights and benefits conferred by the statute. See generally

RCW 49.62.020.8

        The Agreement complies with RCW 49.62.020 in every respect. Shin earned $275,000

annually as base compensation, well in excess of the $100,000 threshold, satisfying RCW

49.62.020(1)(b). The non-compete covenant’s restricted period is eighteen (18) months post-



7
  The damages available under Washington’s non-compete statute have no bearing on, or relation to, the
Agreement’s validity and enforceability under the statute. (Mtn., p. 5). Even so, if the court determines
Groupon’s claims are brought in bad faith , “federal courts have inherent power to award attorney’s fees in
a narrow set of circumstances, including when a party brings an action in bad faith.” Rexa, Inc. v. Chester,
No. 17 C 8716, 2021 WL 826629, at *3 (N.D. Ill. Mar. 2, 2021) (quoting Marx v. Gen. Revenue Corp., 568
U.S. 371, 382 (2013)).
8
  The statute also deems a noncompetition covenant void and unenforceable if the employee is terminated
as a result of a layoff and enforcement of the noncompetition covenant does not include compensation
equivalent to the employee’s base salary at the time of termination for the period of enforcement minus
compensation earned through subsequent employment during the period of enforcement. See RCW
49.62.020(1)(c). This requirement is inapplicable here because Shin was not terminated as a result of a
layoff. Shin voluntarily resigned his employment with Groupon. Additionally, like Illinois, the statute
deems a noncompetition covenant void and unenforceable if the covenant is entered into after the
commencement of employment unless the employer provides independent consideration for the covenant.
See RCW 49.62.020(1)(a)(ii). This requirement is inapplicable here because the Agreement was not entered
into after the commencement of Shin’s employment. The Agreement was disclosed to Shin in writing
concurrent with his offer of employment and before he accepted the offer of employment, in compliance
with RCW 49.62.020(1)(a)(i) and he was afforded sufficient consideration in exchange for his execution of
the Agreement, namely the handsome compensation package detailed above.
                                                   -12-
employment, satisfying RCW 49.62.020(2). And, Groupon disclosed the Agreement to Shin

concurrently with his offer of employment and before Shin accepted the offer of employment,

satisfying RCW 49.62.020(1)(a)(i). Shin does not dispute these facts in his Declaration.

        Notably, Shin does not argue the Agreement is non-compliant with RCW 49.62.020.

Compare 49.62.020 (governing the enforceability of “non-competition covenant[s]”) 9 with RCW

49.62.050 (governing “provision[s] in a noncompetition covenant”) (emphases added). Shin’s

Washington residency is that state’s only connection to the litigation, and it is outweighed by

myriad other facts connecting this matter to Illinois. Shin’s misrepresentations of Washington law

do not – and cannot – divest this Court of personal jurisdiction.

III.    SHIN’S REQUEST FOR A VENUE TRANSFER ALSO FAILS.

        As an alternative, Shin asks the Court to transfer the action to the Western District of

Washington. Neither private nor public interests warrant a transfer. For the convenience of parties

and witnesses and in the interest of justice, a district court may transfer any civil action to any

other district or division where it might have been brought. 28 U.S.C. § 1404(a). A transfer under

§ 1404(a) is only appropriate if: (1) venue is proper in both the transferor and transferee court; (2)

transfer is for the convenience of the parties and witnesses; and (3) transfer is in the interest of

justice. Law Bulletin Publ'g Co. v. LRP Publ'ns Inc., 992 F. Supp. 1014, 1017 (N.D. Ill. 1998);

see Coffey v. Van Dorn Iron Works, 796 F.2d 217, 219 (7th Cir. 1986). “[S]ection 1404(a) is

intended to place discretion in the district court to adjudicate motions for transfer according to [a]

case-by-case consideration of convenience and fairness.” Research Automation, Inc. v. Schrader-


9
 Not that it matters given the Agreement’s full compliance with and Illinois’s accord with Washington law,
but Shin has also waived any such argument by failing to raise it in his Motion. See generally G & S
Holdings LLC v. Cont'l Cas. Co., 697 F.3d 534, 538 (7th Cir. 2012) (“We have repeatedly held that a party
waives an argument by failing to make it before the district court. . . . That is true whether it is an affirmative
argument in support of a motion to dismiss or an argument establishing that dismissal is inappropriate.”).


                                                       -13-
Bridgeport Int'l, Inc., 626 F.3d 973, 977 (7th Cir. 2010) (internal quotations omitted).

       Here, each of the Section 1401(a) factors weigh heavily against transfer. There is a “strong

presumption in favor of the plaintiff's choice of forum if, as here, it is where the plaintiff resides.”

Zurich Am. Ins. Co. v. Ocwen Fin. Corp., 2017 WL 11559788 (N.D. Ill. August 16, 2017). As the

moving party, Shin has the burden of demonstrating the transferee forum as “clearly more

convenient” and “must demonstrate that the balance of the factors weigh heavily in favor of

transfer and that transfer would not merely shift inconvenience from one party to another.” Id;

Judge v. UniGroup, Inc., 2017 U.S. Dist. LEXIS 9826, 2017 WL 345561, at *2 (N.D. Ill. 2017).

       Here, the convenience of parties and witnesses strongly disfavor transfer.              Because

Groupon’s “principal place of business is located in Illinois, the location of the material events

weighs in its favor.” Zurich, 2017 WL 11559788.              Shin omits material facts in claiming

Washington is more convenient for parties and witnesses because Shin’s “resources . . . reside with

him in Washington” and some employees with whom he interacted may reside in Washington.

(Mtn., p. 16). While Washington may be more convenient for Shin, it is not for Groupon and it is

not for nearly every witness likely to be called in this matter.

       Groupon is headquartered in Illinois. Its executives, including Shin’s supervisor, Goodall,

the interim Chief Executive Officer, Chief People Officer, interim Chief Financial Officer, Chief

Commercial Officer and Chief Administrative Officer, are all based in Illinois. The majority of

Shin’s direct reports also reside in Illinois. Further, the consequences of Shin’s actions (i.e., the

competitive disadvantage an Illinois-based company has and will continue to suffer due to his

breach) “occurred primarily, if not exclusively, in Illinois . . . weigh[ing] heavily against transfer.”

Zurich, 2017 WL 11559788. It is well-settled that “[t]ransfer is not appropriate where it would

merely shift inconvenience from one party to another,” which is exactly what Shin attempts to do.



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Graham v. United Parcel Serv., 519 F. Supp. 2d 801, 810 (N.D. Ill. 2007).

       The public interests also weigh against transfer. Shin knowingly and voluntarily executed

the Agreement. In doing so, he agreed to the Agreement’s clear and unambiguous Illinois forum

and choice of law provisions. “Illinois has a strong interest in adjudicating injuries that occur

within its borders. This interest extends to disputes that arise out of business relationships formed

between Illinois residents and nonresidents.” Int’l Molding Mach. Co. v. St. Louis Conveyor Co.,

01 C 8305, 2002 WL 1838130, at *5 (N.D. Ill. Aug. 9, 2002). Illinois undoubtedly has the greatest

interest in adjudicating this dispute arising from Shin’s breach of his noncompetition covenant and

his threatened misappropriation of his Illinois-based employer’s trade secrets. See Int'l Molding

Mach. Co., 2002 WL 1838130, at *5 (finding Illinois has a strong interest in adjudicating disputes

concerning its corporate resident’s trade secrets).

       To the extent Shin’s Washington residency gives that state some interest in the litigation,

Groupon’s Illinois residency, its Illinois-based trade secrets and confidential information, and its

executives and other employees’ Illinois residency give Illinois a more compelling interest. As a

general rule, “a plaintiff’s choice of forum should be disturbed only if the balance of the public

and private interest factors strongly favors the defendant.” Zurich, 2017 WL 11559788; see also

Gehrett v. Lexus, 2012 WL 3644008, at * 2 (N.D. Ill. 2012). The private and public interests

disfavor transfer to Washington.
                                         CONCLUSION

       For the foregoing reasons, Plaintiff Groupon, Inc. respectfully requests this Court deny

Defendant Sung Shin’s Motion to Dismiss for Lack of Personal Jurisdiction Pursuant to Fed. R.

Civ. P. 12(b)(2), or in the Alternative, Motion to Transfer Venue Pursuant to 28 U.S.C. § 1404;

and Request for Order Vacating Temporary Restraining Order in its entirety, and award any other

relief this Court deems equitable and just.



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Dated: November 22, 2021          Respectfully submitted,

                                  GROUPON, INC.


                                  By: /s/ Kevin M. Cloutier
                                                 One of Its Attorneys


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 22, 2021, a copy of the foregoing was

filed with the Court’s CM/ECF system, which will serve all counsel of record.



                                                    /s/ Kevin M. Cloutier
                                                          Kevin M. Cloutier




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